              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION
            CRIMINAL CASE NO. 2:12-cr-00033-MR-DLH-2


UNITED STATES OF AMERICA, )
                            )
              Plaintiff,    )
                            )
         vs.                )                  ORDER
                            )
KENNETH ASHE,               )
                            )
              Defendant.    )
___________________________ )

     THIS MATTER is before the Court on the Defendant’s pro se motion

for rehearing [Doc. 215] and pro se motion for discovery [Doc. 216].

     On December 11, 2013, the Defendant was sentenced to a term of

87 months’ imprisonment. [Doc. 127]. The Defendant appealed, and on

September 9, 2014, the Court of Appeals for the Fourth Circuit affirmed his

conviction and sentence. United States v. Ashe, 583 F. App’x 155 (4th Cir.

2014).

     On October 14, 2014, the Court received the present motions from

the Defendant. In his first motion, the Defendant requests an en banc

hearing of his case on appeal. [Doc. 215]. A petition for panel rehearing,

however, must be filed with the Court of Appeals, not the district court. See




   Case 2:12-cr-00033-MR-WCM    Document 220    Filed 01/09/15   Page 1 of 2
Fed. R. App. P. 40. Accordingly, this Court lacks jurisdiction to entertain

the Defendant’s motion.1

      In his second motion, the Defendant requests copies of certain

discovery pertinent to his case, noting that he is “in the process of an

appeal.” [Doc. 216]. The Defendant has cited no authority pursuant to

which he can claim entitlement to any discovery from the Government at

this late date. In any event, his appeal is no longer pending with the Court

of Appeals. The Defendant’s motion for discovery is therefore denied.

      IT IS, THEREFORE, ORDERED that the Defendant’s pro se motions

[Docs. 215, 216] are DENIED.

      IT IS SO ORDERED.




1
 Even if the Court could act upon the Defendant’s motion, such motion was untimely,
as it was filed more than fourteen days after entry of the judgment. See Fed. R. App. P.
40(a)(1).

                                           2



    Case 2:12-cr-00033-MR-WCM        Document 220      Filed 01/09/15   Page 2 of 2
